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                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

CASSANDRA POPPEN                                   §
                                                   §
                                                   §
VS.                                                §                      CIV. NO 5:16-CV-00810
                                                   §
                                                   §
FLETCHER TRANSPORT, INC. AND                       §
JASON O'NEAL                                       §


                   DEFENDANTS FLETCHER TRANSPORT, INC. AND
                      JASON O'NEAL’S NOTICE OF REMOVAL


TO THE HONORABLE JUDGE OF SAID COURT:

       Removing parties, Fletcher Transport, Inc. and Jason O’Neal, Defendants in the above-

entitled cause, hereby remove Cause No. 2016CI10968 from the 285th District Court of Bexar

County, Texas, to the United States District Court for Western District pursuant to 28 U.S.C.

1332, 1441, and 1446, and as grounds for its removal, would respectfully show the Court as

follows:

       1.       Removing parties are Defendants in the above-entitled action.

       2.       On June 30, 2016, Plaintiff L. Cassandra Poppen filed her Original Petition and

the above-entitled action was commenced against the removing parties in the 285th District Court

of Bexar County, Texas, Cause No. 2016CI10968.

       3.       On July 14, 2016, the registered agent for service for Fletcher Transport, Inc. was

served with a Citation and Plaintiff’s Original Petition; this Notice is filed within thirty (30) days

of that date and is hereby timely.

       4.       The above-entitled action is removable to federal court as this Court has original

jurisdiction based on diversity jurisdiction.

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        5.       As stated in Plaintiff’s Original Petition, this lawsuit involves allegations of

negligence against Jason O’Neal for failing to operate his vehicle in a reasonably prudent manner

during the course and scope of his employment with Fletcher Transport, Inc. Pl.’s Orig. Pet., p.

3.   Plaintiff alleges that Defendant Fletcher Transport, Inc., is vicariously liable for the

negligence of employee, Jason O’Neal. Pl.’s Orig. Pet., p. 4.              Plaintiff alleges significant

damages that exceed the minimum amount in controversy for diversity jurisdiction.

                          DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332(a)

        6.       This Court has jurisdiction over this matter under 28 U.S.C.§1332(a), because

there is complete diversity of citizenship between Plaintiff and Defendants, and more than

$75,000, exclusive of interest and costs, is at stake.

        7.       Plaintiff alleges in her Original Petition that she is a resident of the state of Texas.

Pl.’s Orig. Pet., p. 1.

        8.       Defendant Fletcher Transport, Inc. is not a citizen of Texas; it is a corporation

existing and organized under the laws of the State of Florida without any owner or member that

is a citizen of Texas. See Pl.’s Orig. Pet., p. 2. Defendant Fletcher Transport, Inc.’s principal

place of business and corporate headquarters is in Florida; specifically, Quincy, Gadsden

County, Florida. Defendant Jason O’Neal is not a citizen of Texas. He is an individual resident

of the State of Florida. Therefore, complete diversity exists between Plaintiff and Defendants in

this action.

        9.       Plaintiff has requested damages in an unspecified amount for past and future

medical expenses, past and future physical and mental pain and suffering, past and future mental

anguish, past and future physical impairment, lost wages, and loss of earning capacity. Although

no amount was specified in Plaintiff’s Original Petition, Plaintiff’s has alleged damage claims for

past medical expenses, future medical expenses, lost wages, loss of future earning capacity, out-

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of-pocket losses and all alleged non-economic damages. Plaintiff alleges that she has suffered

actual damages that exceed the minimum jurisdiction of the 285th Judicial District Court of

Bexar County, Texas. Pl.’s Orig. Pet., p. 6.

       10.     Attached hereto as Exhibit “A” is Plaintiff’s Original Petition, filed on June 30,

2016. Also attached as Exhibit “B” is Defendant’s Original Answer, filed on August 5, 2016.

                       AMOUNT IN CONTROVERSY EXCEEDS $75,000.00

       11.     In the removal context, a defendant may make a showing that in either of two

ways: (1) by demonstrating that it is “facially apparent” that the claims are likely above

$75,000.00, or (2) “by setting forth the facts in controversy—preferably in the removal petition,

but sometimes by affidavit—that support a finding of the requisite amount.” Luckett v. Delta

Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999) (citing Allen v. R & H Oil & Gas Co., 63 F.3d

1326, 1335 (5th Cir.1995) (emphasis in original). In Luckett, the court found that even though

the complaint did not state a specific amount, it was evident that damages were over the

jurisdictional amount when recovery was sought for property damage, travel expenses, medical

bills, pain and suffering and mental anguish. See Luckett, 171 F.3d 295 at 298. Here, Plaintiff

seeks past and future medical expenses, past and future physical and mental pain and suffering,

past and future mental anguish, past and future physical impairment, lost wages, and loss of

earning capacity. It is facially apparent from these allegations that Plaintiff’s claims exceed

$75,000.00.

       12.     Plaintiff has alleged that the collision at issue “occurred with tremendous force,

proximately causing Plaintiff to suffer severe, excruciating and painful, debilitating injuries.”

Pl.’s Orig. Pet., p. 3. Allegations of serious injuries following a truck accident can provide a

sufficient basis for a court conclude that the amount in controversy exceeds the minimum

amount for diversity jurisdiction. Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th

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Cir.1999); Gebbia v. Wal-Mart Stores, Inc. 233 F.3d 880, 881-882 (5th Cir. 2000). Thus, all

things considered, the amount in controversy in this suit is over $75,000.00, and the

jurisdictional threshold under 28 U.S.C. 1332(a) is satisfied.

       13.     Plaintiff’s Original Petition therefore presents a cause of action with diversity

jurisdiction, and removal of this action to this Court is proper pursuant to 28 U.S.C. 1332(a).

       Defendants Fletcher Transport, Inc. and Jason O’Neal respectfully request that the Parties

and the 285th Judicial District Court of Bexar County take notice of the removal of this case to

the United States District Court for the Western District of Texas, San Antonio Division.

Defendants request such other and further relief to which they may be entitled.

                                              Respectfully submitted,

                                              CHAMBLEE, RYAN, KERSHAW & ANDERSON, P.C.

                                              By:     /s/ Jeffrey W. Ryan
                                                      Jeffrey W. Ryan
                                                      State Bar No. 17469600
                                                      jryan@crka.law
                                                      Christopher B. Wood
                                                      State Bar No. 24056670
                                                      cwood@crka.law

                                              2777 Stemmons Freeway, Suite 1157
                                              Dallas, Texas 75207
                                              (214) 905-2003
                                              (214) 905-1213 (Facsimile)

                                              ATTORNEY FOR DEFENDANTS




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                                   CERTIFICATE OF SERVICE

        I do hereby certify that on August 15, 2016 a true and correct copy of the above and
foregoing document has been forwarded via e-service and/or via fax to Plaintiff’s counsel of
record:

Mr. Langdon Smith
Jim S. Adler & Associates
1900 West Loop South, 20th Floor
Houston, Texas 77027

                                           /s/ Christopher B. Wood
                                           Christopher B. Wood




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                   EXHIBIT "A"
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6/30/201 62: 5239 PM                                                                           W/JD           ECS "ED
DOllnd K;l y f\kKmoe y
Bex<1 1' County District Clerk
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               CASSANDRA POPPEN,                                 §               IN THE DISTRICT COURT OF
                                                                 §
                        Plain/iff,                               §
                                                                 §
               v.                                                §
                                                                                 BEXAR COUNTY, T E X A S
                                                                 §
               FLETCHER TRANSPORT, INC. and                      §
               JASON O'NEAL,                                     §
                                                                 §
                        Defen dall/s.                            §              285       JUDICIAL Dl STRICT

                                   PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND,
                                  REQUEST FOR DISCLOSURE, AND RULE 193.7 NOTICE

                        COMES NOW Cassandra Poppcn ("Plaintiff') complaining of Defcndants, Flctcher

               Transport, Inc. ("Defendant Fletcher Transport") and Jason O'Neal ("Defendant O'Neal") , and

               in suppOli thereof shows thc Court as follows:

                                                  J. DISCOVERY CONTROL PLAN

                        1.1      Pursuant to Tcxas Rule of Civil Procedure 190.4, thc discovery of this case is to

               be conducted under Discovery Control Plan Level 3. Plaintiff affinnntively plcads that this suit is

               not governcd by the expedited-actions process in Texas Rule of Civil Procedure 169 because

               Plaintiff seeks monetary relief over $100,000.

                                                            II. PARTIES

                        2.1      Plaintiff, Cassandra Poppen, is a resident of Texas. The last threc digits of

               Plaintitrs Texas driver's license arc 076. Plainti ff's lust three digits of her Social Security

               number are 770.

                        2.2      Defendant, Fletcher Trans port, Inc., is a foreign corporation existing under the

               laws of the State of Florida and does business in the State of Texas. Defendant, through its

               agents and/or employees, acti ng within the course and scope of its employment and in




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furtherance of the business of Defendant, committed a ton in the State of Texas that is the basis

of this action. Accordingly, service of process may be had on Defendant by serving: Secretary

of State, RA . G ray Building, Tallahassee, FL 3230 I, and forwarding such process to Flctcher

Transport, Inc. by serving its registered agent: Trudel Porter, 2875 Sycamore Rd., Quincy FL

3235 I.

          2.3   Defendant, Jason O'Neal, is an individual resident of the Stale of Florida who has

been iss ued a Florida Driver License bearing number 0540432814570 and his last three digits of

his social security number arc unknown. This aclion arises out of an accident in which Jason

O'Neal was involved while operating a motor vehicle in the State of Texas; therefore, service

upon Defendant may b e made pursuant to the Civil Practice and Remedies Code §§ 17JJ61·

17.069. Process shou ld be served on Defendant by serving Ted Houghton, Chairman of the

Texas Transportation Commission, at 125 E. 11th St., Austin, Tex.s, 78701-2483, to be

["rwoIded to Defendant's last known residence: 2915 Sycamore Rd., Quincy, FL 32351, or

wherever he may he found.

                                    1If. JtJ RISOlCTION AND VENUE

          3.1   The Court has jurisdiction over this Cause because Plaintiffs damages are within

the jurisdictionallimils of the Court.

          3.2   Pursuant to Sections 15.001 and 15.002(a)(I) of Ule Texas Civil Practice and

Remed ies Code, this venue is proper because al1, or a substantial part of, the events or omissions

givmg rise to the claim occurred in Bexar County, Texas. The venue is also proper because it

besi serves the convenien ce of the parlies and witnesses, as well as th" interests of justice.

          3.3   Pluinti Cf has sati!)fieo ull conditions precedent to bringing this lawsuit.

          3.4   No thing Plaintiff did or did not do caused or contribuled to this oecunence.




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                                                IV. FACTS

           4.1   On or about September 23, 2015, Plaintiff was operating a 1991 white Honda and

Defendant O'Neal was operating a 2000 Freightliner owned by Fletcher Transport, Inc. Plaintiff

and Defendant O'Neal were traveling southbound on the SE Loop 4 10. Defendant O'Neal was

traveling behind Plaintiff's vehicle. Traffic was backing up and several cars had to stop in front

of Plaintiff. As a resuli, Defendant O'Ncal failed to        SlOp   causing a collision with Plaintiff's

vehicle.

        4.2      The collision OCCUlTed with tremendous force, proximately causing Plaintiff to

suffer severe, excruciating, and painful debilitating injuries.

                                    V . N~;GLlGENCE OF JASON O'NEAL

           5.1   The incid ent made the basis of this lawsuit resulted from the improper conduct of

Ddendant O'Neal. His conduct constitutes negligence and/or ncgligellCe per se as those tenns

arc understood in law , and such negligent conduct was a proximate cause of the occurrence,

injuties, and damages made the basis of this suit.

        5.2      Defendant O'Neal had a duty to exercIse ordinary care and to operate his

tractor/trailer in a reasonable and prudent mrumer. Defendant breached his duty of care. His

negligent act ions and/or omissions include, but arc not limited In, one or more of the followi ng

nOll-excl usive particulars:

        a.       failing to stop;

        h.       failing to maintain proper control of the tractor/trailer he was driving;

        c.       tailing to keep a proper lookout;

        d.       fsiling to app ly the brakes properly and/or timely in violation of Texas
                 Transportation Code §547 .408)(a)(3);

        e.       fail ing to operate the tractor/trailer in a si1fc manner given the cirCllmstances ;



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        f.     failing to control the operation of his tractor/trailer;

        g.     failing to pay attention;

       h.      fai ling to operate the tractor/trailer as a person of ordinary prudence would have
               in the same or similar circumstance; and/or

       I.      other acts of negligcnce.

One, some, or all of the foregoing acts and/or omissions or others on the part of Defendant

constituted negl igence. Such negligence was a proximate cause of Plaintiffs injuries and

damages.

                                    VI. RESPONDEAT SUI'ERJOR

       6.1    Tht collision made the basis of this lawsuit resulted from the negligent conduct of

Defend ant O'NeaL Defendant, Fletcher Transport, was the owner of the tractor/trailer driven by

Defendant O'Neal. At all times material to this lawsuit, Defendant O'Neal was an cmployee of

Defendant Fletcher Transport and was acting within the course and scope of his employment.

Consequently, Dcfendant Fletcher Transport is vicariously liable to Plaintiff for the negligent

conduct of Defendant O'Neal under the theory of respolldeal superior.

                       VII. NF:CLIGENCR OF FLF.TCIlER TRANSPORT, INC.

       7.1    The conduct of Defendant constitutes negligence and negligence per se as that

tem1 is known in the law, Such neglige'11t acts or omission include, but are not limited to, the

following :

       a.     allowing O'Neal to operate its tractorltrailer even though it knew or should have
              known he was n reckless or incompetent driver;

       b.     entrusting a tractor/trailer to O'Neal even thnugh it knew or should have known
              he was a reckless or incompetent driver;

       c.     tailing to properly train O'Neal in the safe operation of a tractor/trailer;




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          d.     failing to properly supervise O'Neal 's driving activities;

          e.     fail ing to properly maint"in the vehic1c in a safe operational condition;

          f.     fail ing to maintain the vehicle to the minimal standard of safety;

          g.     failing to establish and enforce safety rules and regulations;

          h.     failing to properly educate, instruct and supervise in the performance of his
                 duties;

          \.     failing to adequately train, educate, or provide instructions and orders to persons;

          J.     failing to provide proper sa fety manuals and instructions to employees responsible
                 for safety;

          k.     failing to enforce and ensure compliance of established safety and operational
                 rules and regulations for persons operating its equipment; and/ or

          I.     other acts of negligence.

One, som e, or all of the foregoing acts andlor omissions or others on the part of Defendants

const ituted negl igence. Such negligence was a proximate cause or PlaiJltifrs lIljurics w1d

dam ages.

                                             VIII. DAMAGES

          8. 1   As a result of the incident made the basis of this lawsuit as described in the

preceding puragraphs and the negligence of Defendants, Plaintiff sost"ined significant injuries

and damnges in the past and will in rea,onable probability sustain additional dmnages in the

futusc.

          8.2    Consequently, Plaintiff respectfully requests that the trier of fact determine the

amou nt of damages and losses that she has incurred in the past and that she will reasonably incur

In   the future, as w ell as the monetary value of these damages, which include, but are not limited

to, the followi ng:

          a.     past, present, mId future physical pain and mental anguish;



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          b.     past, present, and future loss of earning capacity;

          c.      past, present, and fu ture disfigurement;

          d.      past, present, and future physical impairment;

          e.      past, present, and future medical care and related expenses; and

          f.     past, present, and future out-of-pockct economic losses.

          8.3     Because of all of the above and foregoing, Plaintiff has suffered actual damages in

excess of the minimum jurisdictional limits uf the Cow1 for whieh damages Plaintiff now blings

suit.

          8.4     Plaintiff seeks both prejudgment and post-judgment interest as allowed by law, all

costs of Cou11, and all other relie f, both general lind spccial, at law and in equity. to which he

may be j ustly entitled .

                                           IX. JURY D~;MAND

          9.1     Pursuant to Texas Rule of Civil Procedure 216, Plaintiff respectfully requests and

demands a trial by jury.

                                     X. REQUEST FOR DISCLOSURE

          10.1    Pursuant to Texas Rule of Civil Procedure 194, Plaintiff hereby requests that

Defendants di sclose the information or material described in Texas Rulo of Civil Procedure

194.2(3)-(1). Defendants must serve unto Plaintiff written responses to Ihese requests for

disclosure on or before fifty (50) days after the service of these requests. Failure to tim ely

respond will constitute an abuse of the diseovl'T)' process as described in ,Texas Rule of Civil

Procedure 215 .




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                                              Xl.   RULE 193,7 NOTICE


                1!.1     Pursuant to Texas Rule of Civil Procedure 193.7, Plainti ff hereby gives actual

        notice to Defendants that any and all documents produced may he used against Defendants at

        any pretrial proceeding andlor at the tli,,1 of this matter without the necessity of authenticating

        the documents.

                                            CONCLUSION AND PHAYER

                WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defcndants be cited in

        tCnTIS of law tu appear and answer herein, and that upon final trial and hearing hereof, Plaintiff

        recovcr against Defcndants damages in accordance with the evidence, costs of Court herein

        expended, interest to wIiich PlaintifT are justly entitled under the law, and any lmd all nlrther

        relief, both general and special, at law and in equity, to which Plaintiff may be justly entitled.


                                                               Respectfully submitted,

                                                               JIM S. ADLER & ASSOCIATES



                                                               By:
                                                                     ~--"~~~--------­
                                                                     Langdon     l1ith
                                                                     Texas B, No.: 00797456
                                                                     lsmi th(@iirnudler.com
                                                                     Michael Gomez
                                                                     Texas Bar No.: 24029578
                                                                     mggmez@ji[lladlcr.com
                                                                     1900 West Loop South, 20 'h Floor
                                                                     Houston, Texas 77027
                                                                     T: (713) 735·2114
                                                                     F: (713) 781 ·2514

                                                               AITORNEYS FOR PLAINTIFF




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                    EXHIBIT "B"
FILED                   Case   5:16-cv-00810-OLG Document 1 Filed 08/15/16 Page 15 of 16
8/5/20169:55:27 AM
Donna Kay McKinney
Bexar County District Clerk
Accepted By: Debra Cantu


                                                   CAUSE NO. 2016CIl0968

             CASSANDRA POPPEN                                     §             IN THE DISTRICT COURT OF
                                                                  §
                                                                  §
             VS.                                                  §                     BEXAR COUNTY, TEXAS
                                                                  §
                                                                  §
             FLETCHER TRANSPORT, INC. AND                         §
             JASON O'NEAL                                         §                 285 T11 JUDICIAL DISTRICT


                      DEFENDANTS FLETCHER TRANSPORT, INC. AND JASON O'NEAL'S
                         ORIGINAL ANSWER TO PLAINTIFF'S ORIGINAL PETITION

             TO THE HONORABLE JUDGE OF SAID COURT:

                     COMES NOW, Fletcher Transport, Inc. and Jason O'Neal, Defendants in the above-

             styled and numbered cause, and file this, their Original Answer to Plaintiffs Original Petition,

             and would respectfully show the Court the following:

                                                                 I.

                                                      GENERAL DENIAL

                      Defendants generally deny each and every, all and singular, the material allegations

             contained in the Plaintiffs Original Petition and , being allegations of fact, demands that the

              Plaintiff be required to prove such a llegations by a preponderance of the evidence if the Plaintiff

              can so do.

                                                                 II.

                      Defendants request Level 3 Discovery Plan.

                      WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiff takes

              nothing by this suit; and that Defendants goes hence without delay and recover all costs




              Defendants Fletcher Transport, Inc. & Jason O'Neal's Original Answer to
              Plaintifrs Original Petition - Page 1
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expended in Defendants ' behalf. Praying further, Defendants pray for such other and further

relief, either at law or in equity, to which Defendants may be justly entitled.

                                                 Respectfully submitted,

                                                 CHAMBLEE, RYAN, KERSHA W & ANDERSON, P.c.



                                                 By:     lsi Jeffrey W Ryan
                                                         Jeffrey W. Ryan
                                                         State Bar No. 17469600
                                                         jryan@crka.law
                                                         Christopher B. Wood
                                                         State Bar No. 24056670
                                                         cwood@crka.law

                                                 2777 Stemmons Freeway, Suite 1157
                                                 Dallas, Texas 75207
                                                 (214) 905-2003
                                                 (214) 905-1213 (Facsimile)

                                                 ATTORNEY FOR DEFENDANTS
                                                 Fletcher Transport, Inc. and Jason O'Ncal


                                      CERTIFICATE OF SERVICE

        I do hereby certify that on August 5, 2016 a true and correct copy of the above and
foregoing document has been forwarded via e-service and/or via fax to Plaintiffs counsel of
record:

Mr. Langdon Smith
Jim S. Adler & Associates
1900 West Loop South, 20th Floor
Houston, Texas 77027

                                                 lsi Christopher B. Wood
                                                 Christopher B. Wood




Defendants Fletc her Transport, Inc. & Jason O'Neal's Original Answer to
Plaintifrs Original Petition - Page 2
